     Case 2:20-cv-00268-BWA-MBN Document 36 Filed 03/23/21 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

MELINDA OLSEN                                CIVIL ACTION NO. 2020-268-BWA-MBN

                                              SECTION “M”
v.                                            JUDGE: BARRY W. ASHE

JEFFERSON PARISH                              DIVISION “5“
                                              MAGISTRATE JUDGE:
                                              MICHAEL B. NORTH

                                              JURY DEMANDED
_____________________________________

                           WITNESS AND EXHIBIT LISTS

      Defendant, Jefferson Parish, submits the following Witness and Exhibit Lists:

                                          WITNESS LIST

      Defendant identifies the following witnesses who may be called at trial:

1. Melinda Olsen;

2. Michelle Brignac;

3. Shannon Neal;

4. Madison Martin;

5. John Dumas;

6. Robin Beaulieu;

7. Representative(s) and/or employees of the Animal Shelter Department and/or
   Jefferson Parish;

8. Any individuals listed by Plaintiff;
     Case 2:20-cv-00268-BWA-MBN Document 36 Filed 03/23/21 Page 2 of 3




9. Any individuals that become necessary to call for impeachment;

10. Any individuals that become necessary to call for rebuttal;

11. Any individuals identified through discovery in this matter.

AS DISCOVERY IS ONGOING, DEFENDANT EXPRESSLY RESERVES ITS RIGHT
          TO SUPPLEMENT AND AMEND THIS WITNESS LIST.

                                     EXHIBIT LIST

      Defendant identifies the following exhibits that may be introduced at trial:

1.    Personnel file for Olsen;

2.    Payroll and time records for Olsen during the applicable statute of limitations
      period;

3.    Any documents, text messages, statements voicemails, emails, phone records,
      correspondence, or memoranda that arise from or in any way relate to the
      employment, performance, discipline, benefits, schedules, time worked, and pay
      for Olsen;

4.    Jefferson Parish Handbook provisions, Policies, and Personnel Rules applicable
      to the Plaintiff’s claims;

5.    Any and all depositions and exhibits attached thereto taken in the underlying
      matter;

6.    Any and all discovery responses and documents produced in discovery;

7.    Any and all documents or evidence produced or listed by any other party;

8.    Any and all documents or evidence which may be discovered between now and
      the time of trial;

9.    Any documents necessary for impeachment.

AS DISCOVERY IS ONGOING, DEFENDANT EXPRESSLY RESERVES ITS RIGHT
          TO SUPPLEMENT AND AMEND THIS EXHIBIT LIST.


                                            2
     Case 2:20-cv-00268-BWA-MBN Document 36 Filed 03/23/21 Page 3 of 3




                                       Respectfully submitted by:

                                          By: /s/Amanda M. Plaiscia__________
                                             Craig R. Watson, #29473 (T.A.)
                                             Guice A. Giambrone, III, #25062
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                                              Attorneys for Defendant



                            CERTIFICATE OF SERVICE

      I certify that on March 23, 2021 a copy of this filing was served

contemporaneously on all attorneys of record via the court’s CM/ECF system.

                                                          /s/ Amanda M. Plaiscia




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